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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE: DOMESTIC DRYWALL                                              MDL No. 2437
ANTITRUST LITIGATION                                                 13-MD-2437


THIS DOCUMENT RELATES TO:
ALL ACTIONS



       ORDER RE MOTION TO COMPEL JUDGMENT SHARING AGREEMENTS


         AND NOW, this 20th day of August, 2015, after careful consideration of Plaintiffs’

Motion to Compel Production of Defendant’s Judgment Sharing Agreements (ECF 188),

Defendants’ Response in Opposition (ECF 192), and Plaintiffs’ Reply (ECF 193), and after

holding oral argument on the motion on May 20, 2015, and for the reasons stated in the

accompanying memorandum, it is hereby ORDERED that Plaintiffs’ Motion (ECF 188) is

DENIED, without prejudice to Plaintiffs raising this issue again if another phase of discovery

occurs after the Court reaches a decision on the summary judgment motions.



                                                           BY THE COURT:

                                                           /s/ Michael M. Baylson

                                                           MICHAEL M. BAYLSON, U.S.D.J.
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